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 3
     Sacramento, California 95814
 4   Telephone: (916) 422-4022
     Attorneys for Michael Taylor Sr.
 5
 6
                          IN THE UNITED STATES DISTRICT COURT
 7
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
                                                  )
10   UNITED STATES OF AMERICA,                    )   Case No.: 2:12-cr-0375-TLN
                                                  )
11                                                    STIPULATION AND ORDER FOR
                  Plaintiff,                      )
                                                  )   CONTIUATION OF THE STATUS
12                                                    CONFERENCE
           vs.                                    )
13                                                )
14   GREGORY MARTIN, et al.,                      )
              Defendants.                         )
15                                                )
16
17         Plaintiff, United States of America, by and through its counsel of record, and
18   Defendants, by and through their counsel of record, hereby stipulate as follows:
19         1.     By previous order, this case was set for a Status Conference on August 7,
20                2014.
21         2.     By this stipulation, the all Defendants agree to continue the Status
22                Conference to September 25, 2014, at 9:30 a.m. The parties stipulate to
23                exclude time until September 25, 2014, under Local Code T4. Plaintiff
24                does not oppose this request.
25         3.     The parties agree and stipulate and request that the Court find the
26                following:
27                a. Thomas A. Johnson, counsel for Michael Taylor Sr., requests a
28                    continuance and needs additional time in order to continue review of the

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 1                 discovery and discuss a potential resolution with the defendant.    All
 2                 co-counsel join in the request to continue.
 3              b. Counsel for defendants believes that failure to grant the above-requested
 4                 continuance would deny him the reasonable time necessary for effective
 5                 preparation, taking into account the exercise of due diligence.
 6              c. The government does not object to the continuance.
 7              d. Based on the above-stated findings, the ends of justice served by
 8                 continuing the case as requested outweigh the interest of the public and
 9                 the defendant in a trial within the original date prescribed by the Speedy
10                 Trial Act.
11              e. For the purpose of computing time under the Speedy Trial Act, 18
12                 U.S.C. § 3161, et seq., within which trial must commence, the time until
13                 September 25, 2014, is deemed excludable pursuant to 18 U.S.C.§
14                 3161(h)(7)(A), B(iv) [Local Code T4] because it results from a
15                 continuance granted by the Court at defendant’s request on the basis of
16                 the Court’s finding that the ends of justice served by taking such action
17                 outweigh the best interest of the public and the defendant in a speedy
18                 trial.
19        4.    Nothing in this stipulation and order shall preclude a finding that other
20              provisions of the Speedy Trial Act dictate that additional time periods are
21              excludable from the period within which a trial must commence.
22
23        IT IS SO STIPULATED.
24
     DATED: August 5, 2014
25                                                 By:    /s/ Thomas A. Johnson
                                                          Thomas A. Johnson
26                                                        Attorney for Michael Taylor Sr.
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     DATED: August 5, 2014
 1                                               By:    /s/ Thomas A. Johnson for
                                                        CHRISTOPHER COSCA
 2                                                      Attorney for Gregory Martin
 3
     DATED: August 5, 2014
 4                                               By:    /s/ Thomas A. Johnson for
                                                        TIMOTHY WARRINER
 5                                                      Attorney for Michael Taylor Jr.
 6   DATED: August 5, 2014
                                                 By:    /s/ Thomas A. Johnson for
 7                                                      MICHAEL CHASTAINE
                                                        Attorney for Andre Walters
 8
 9
     DATED: August 5, 2014                              BENJAMIN B. WAGNER
10                                                      United States Attorney
11                                                By:    /s/ Thomas A. Johnson for
                                                        JARED DOLAN
12                                                      Assistant U.S. Attorney
13
14                                       ORDER
15         IT IS SO ORDERED.
16
17   Dated: August 7, 2014
18
19
20
21                            Troy L. Nunley
                              United States District Judge
22
23
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